AO 243   (Rev. 2/95)
                                  MOTION UNDER 28 USC § 2255 TO VACATE, SET ASIDE. OR CORRECT
                                           SENTENCE BY A PERSON IN FEDERALCUSTODY
         United States District Court                             District   of Alexandria
Name of Movant                                                    Prisoner No.                          Case No.
   COREY THOMAS                .TQKF.fi                           #17789-083                             1:11CR 530
Place of Confinement


     FEDERAL CORRECTIONAL                    INSTITUTION HAZELTON
                                                                                                                          1      L
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               UNITED STATES OF AMERICA                     V.    COREY THOMAS JONES                                     NO; - 4 2014
                                                                                          (nunc under which folvictjd)

                                                                                                                    CLERK. U.S. DISTRICT COURT
                                                                 MOTION                                                  ALEXANDRIA. VIRGINIA

    I.   Name and location of court which entered the judgment of conviction under attack           ALBERT          V.        BRYANT


         COURTHOUSE,              401 Courthouse Square, Alexandria, Virginia 22314

    2.   Date ofjudgment ofconviction April 25, 2012 (Found guilty) /7/18/2012 (Sentenced)
    3. Length of sentence 16 years/200 months
    4.   Nature ofoffense involved (all counts) Conspiracy and armed bank robbery, 18 U.S .C.
         §371 And 18U.S.C.S2 and 2113(A) and (D) respectively.
               Petitioner was acquitted of                           the firearm charge. §924(C)(1)(A)




    5.   What was your plea? (Check one)
         (a) Not guilty                   09
         (b) Guilty                       •
         (c) Nolo contendere              O

         If youentered a guilty plea to one count or indictment,and a not guilty pleato another count or indictment, give details:




    6.   If you pleaded not guilty, what kind of trial did you have? (Check one)
         (a) Jury                    B
         (b) Judge only              CD

    7.   Did you testify at the trial?
         Yes      D        No 0

   8.    Did you appeal from the judgment of conviction?
         Yes      (3       No D
                                                                    (2)

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   9.    If you did appeal, answer the following:
                                 U.S.Court of Appeals For the Fourth Circuit
         (a) Name of court

         (b) Result         Affirmed
         (c)   Date of result    July 13,2013

  10.    Otherthan adirect appeal fromthe judgment ofconviction and sentence, have you previously filedanypetitions.applications,
         or motions with respect to this judgment in any federal court?
         Yes      •          No IS

   11.   If your answer to 10 was "yes," give the following information:

         (a) (I) Name of court       ___________________________________________________________________________

               (2) Nature of proceeding




               (3) Grounds raised




               (4) Did you receive an evidentiary hearing on your petition, application or motion?
                      Yes    Q       No D

               (5) Result

               (6) Date of result

         (b) As to any second petition, application or motion give the same information:

               (I) Name of court     __________________________________________

               (2) Name of proceeding




               (3) Grounds raised




                                                                    (3)
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                (4) Did you receive an evidentiary hearingon your petition, application or motion?
                    Yes   •       No D

               (5) Result

               (6) Date of result      _______________________________________________________________________

          (c) Did you appeal, to an appellate federal courthavingjurisdiction, the resultof action taken on any petition, application
               or motion?
               (1) First petition, etc.              Yes •        No D
               (2) Second petition, etc.             Yes •        No D

          (d) If you did not appeal from the adverse action on any petition, application or motion, explain briefly why you did not:
                 The Petitioner Appealed his convictions to the Supreme

                 Court and was denied Certiorari on November 4,2013. This is

                 Petitioner's first §2255 Habeas petition.




    12.     State concisely every ground on which you claim that you are being held in violation ofthe constitution, laws or treaties of
            the UnitedStates. Summarize briefly the facts supporting each ground. If necessary, you may attach pages stating additional
            grounds and facts supporting same.

            Caution: Ifvou fail to set forth all grounds in this motion, vou may be barred fromnresenting additional grounds at a later
            date.


                 For your information, the following is a list of the most frequently raised grounds forrelief in these proceedings. Each
            statement preceded by a letter constitutes a separate ground for possible relief. You may raise any grounds which you have
            otherthan those listed. However, you should raise in this motion allavailable grounds (relating to this conviction)on which
            you based your allegations that you are being held in custody unlawfully.
                Do not check any of these listed grounds. If you select one or more of these grounds for relief, you must allege facts.
            The motion will be returned to you if you merely check (a) through (j) or any one of these grounds.
            (a) Conviction obtained by plea of guilty which was unlawfully induced ornot made voluntarily or with understanding of
                the nature of the charge and the consequences of the plea.
            (b) Conviction obtained by use of coerced confession.



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              (c)     Conviction obtained by use of evidence gained pursuant to an unconstitutional search and seizure.
              (d)     Conviction obtained by use of evidence obtained pursuant to an unlawful arrest.
              (e)     Conviction obtained by a violation of the privilege against self-incrimination.
              (0      Conviction obtained by the unconstitutional failure of the prosecution to disclose to the defendant evidence
                      favorable to the defendant,
              (g) Conviction obtained by a violation of the protection against double jeopardy.
              (h) Conviction obtained by action ofa grand or petitjurywhich wasunconstitutionally selected and impaneled,
              (i)     Denial of effective assistance of counsel,
              (j)     Denial of right of appeal.

          A. Ground one:            DENIAL OF EFFECTIVE ASSISTANCE OF COUNSEL                                       IN TRIAL

                    ANn PIN      APPFAT

                    supporting facts (state briefly without citing cases or law):    Please see Memorandum of
                     Law,     Attached.




         B. Ground two:           ACTUAL INNOCENCE


              Supporting FACTS (state briefly without citing cases or law):         Please See Memorandum of
                Law,        Attached.




         C.   Ground three:




              Supporting FACTS (state briefly without citing cases or law):




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          D.    Ground four:




                 Supporting FACTS (statebriefly without citingcases or law):




    13.        If any of thegrounds listed in I2A, B,C, and Dwere not previously presented, state brieflywhat grounds were notso
               presented, and give your reasons for not presenting them: ______________________________________________
                Petitioner herein presents a total of Thirteen claims.

                Please see attachments




    14.        Doyou have any petition or appeal nowpending in anycourt asto the judgment under attack?
               Yes  D        No 0

    15.        Give the name and address, ifknown,ofeach attorney who represented you in the following stages of the judgment attacked
               herein:

                                              JEROME P. AQUINO, Attorney-at-Law,
               (a) At preliminary hearing
                     6225 Brandon Avenue, #406, Springfield, Virginia 22150
                  Phone No.703-451-1111                      qAMp Aq ABOVE
               (b) At arraignment and plea                   SAME AS ABUVfa


               (c)   At trial   SAME    AS    ABOVE




                                     SAME     AS    ABOVE
               ((I) At sentencing




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          (e) On appeal       SAME AS ABOVE


         (0 In any post-conviction proceeding        "PRO SE"



         (g) On appeal from any adverse ruling in a post-conviction proceeding



  16.    Were you sentenced on more than one count ofan indictment, or on more than one indictment, in the same court and at
         approximately the same time?
         Yes      D         No S

  17.    Do you have any future sentence to serve after you complete the sentence imposed bythe judgment under attack?
         Yes      D         No (3

         (a) If so, give nameand location of court which imposed sentenceto be served in the future:




         (b) Give date and length of the above sentence:




         (c) Have you filed, or do you contemplate filing, any petition attacking the judgment which imposed the sentence to be
               served in the future?
               Yes D      No D

   Wherefore, movant prays that the Court grant him all relief to which he may be entitled in this proceeding.


                                                                                   Signature of Attorney (if any)



   I declare under penalty of perjury that the foregoing is true andcorrect. Executed on


                  Date




                                                                                  *=-* SignaturfcTTf-Movant




                                                                  (?)
